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                     EXHIBIT A
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17                                  UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF CALIFORNIA
18                                        SAN JOSE DIVISION

19    CHASOM BROWN, WILLIAM BYATT,
      JEREMY DAVIS, CHRISTOPHER                        Case No.: 5:20-cv-03664-LHK-SVK
20    CASTILLO, and MONIQUE TRUJILLO
21    individually and on behalf of all other           [PROPOSED] ORDER GRANTING
      similarly situated,                               PLAINTIFFS’ REQUEST FOR
22                                                      GOOGLE TO SEARCH ADDITIONAL
                     Plaintiffs,                        CUSTODIANS’ ESI
23
       vs.
24

25     GOOGLE LLC,

26                   Defendant.

27

28                                                                       CASE NO. 5:20-cv-03664-LHK-SVK
                         [PROPOSED] ORDER RE: PLAINTIFFS’ REQUEST FOR ADDITIONAL GOOGLE CUSTODIANS
     Case 4:20-cv-03664-YGR Document 178-1 Filed 05/26/21 Page 3 of 3




1                                         [PROPOSED] ORDER
2            Before the Court is Plaintiffs’ request for an Order compelling Google to search additional
3     custodians’ ESI (Dispute P1). Having considered Plaintiffs’ request, and good cause having been
4     shown, the Court GRANTS Plaintiffs’ request and ORDERS as follows:
5            The following Google employees are designated as documents custodians:
6            1. Benj Azise
7            2. Nina Ilieva
8            3. Russ Ketchum
9            4. Sammit Adhya
10           5. Suneeti Shah Vakharia
11

12           IT IS SO ORDERED.
13

14 DATED: ________________________               _____________________________________

15                                                Honorable Susan van Keulen
                                                  United States Magistrate Judge
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28                                                                      CASE NO. 5:20-cv-03664-LHK-SVK
                        [PROPOSED] ORDER RE: PLAINTIFFS’ REQUEST FOR ADDITIONAL GOOGLE CUSTODIANS
